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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


LEARNING RESOURCES, INC. and
HAND2MIND, INC.,

                       Plaintiffs,

                v.
                                                           Civ. Action No. 25-cv-01248-RC
DONALD J. TRUMP, President of the United
States, in his official capacity; KRISTI NOEM,
Secretary of the Department of Homeland Security,
in her official capacity; U.S. DEPARTMENT OF
HOMELAND SECURITY; SCOTT BESSENT,
Secretary of the Treasury, in his official capacity;
U.S. DEPARTMENT OF TREASURY;
HOWARD LUTNICK, Secretary of Commerce, in
his official capacity; UNITED STATES
DEPARTMENT OF COMMERCE; PETE R.
FLORES, Acting Commissioner of Customs &
Border Protection, in his official capacity; U.S.
CUSTOMS & BORDER PROTECTION;
JAMIESON GREER, U.S. Trade Representative,
in his official capacity; and THE OFFICE OF THE
U.S. TRADE REPRESENTATIVE,

                       Defendants.


                                      PROPOSED ORDER

            This matter is before the Court on Plaintiffs’ Partially Opposed Motion to Set Briefing

    and Hearing Schedule. Upon consideration of the Motion, it is hereby:

            ORDERED that the Motion is GRANTED; and it is further

            ORDERED that the following briefing and argument schedule with respect to

    Plaintiffs’ Motion for Preliminary Injunction (ECF No. 9) and Defendants’ Motion to Transfer

    (ECF No. 8) is in effect:




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 DUE DATE                  FILING

 May 1, 2025               Defendants’ Response to Preliminary Injunction Motion

 May 7, 2025               Plaintiffs’ Reply in support of its Preliminary Injunction
                           Motion and Plaintiffs’ Response to Transfer Motion

 May 12, 2025              Defendants’ Reply in support of its Transfer Motion


       And it is further

       ORDERED that a hearing on Plaintiffs’ Motion for Preliminary Injunction and

Defendants’ Transfer Motion will be scheduled for [May 15, 2025 or May 16, 2025].



   Dated: ____________, 2025                     _________________________________
                                                 HONORABLE RUDOLPH CONTRERAS
                                                 United States District Judge




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